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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


     ANTHONY DALE, BRETT JACKSON,
     JOHNNA FOX, BENJAMIN
     BORROWMAN, ANN LAMBERT,                               Case No. 1:22-cv-03189
     ROBERT ANDERSON, and CHAD
     HOHENBERY on behalf of themselves and                 Hon. Thomas M. Durkin
     all others similarly situated,
                                                           Hon. Jeffrey Cole
                          Plaintiffs,

                     v.                                    JOINT STATUS REPORT

     DEUTSCHE TELEKOM AG, and T-
     MOBILE US, INC.,

                          Defendants.



            Pursuant to this Court’s instruction at the February 6, 2024, status hearing to file a joint

status report seven days before future status hearings, Plaintiffs, Defendant T-Mobile US, Inc.

(“T-Mobile”), and Defendant Deutsche Telekom AG (“DT”), together “the parties,” respectfully

submit this Joint Status Report. The parties do not see a need for court intervention on any issue

at the present time.

I.          Discovery Progress

            Plaintiffs and T-Mobile continue to meet and confer productively on discovery,

including:

                  T-Mobile’s Responses and Objections to Plaintiffs’ First Set of Requests for
                   Production of Documents;
                  Use of Search Terms and/or Technology-Assisted Review;
                  T-Mobile’s Custodians;
                  Plaintiffs’ Responses and Objections to T-Mobile’s First Set of Requests for
                   Production of Documents and First Set of Interrogatories;
                  Proposed 502(d) Protective Order;
                  Proposed Deposition Protocol; and
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                  Proposed Expert Stipulation.

Plaintiffs and T-Mobile anticipate resolving these issues through their ongoing meet and confer

process. If any issue requires the Court’s intervention at the time of the June Status Conference,

the parties will present it then, or at such time as the issue is ripe for Court guidance or

resolution. T-Mobile has produced a number of documents responsive to Plaintiffs’ First Set of

Requests for Production of Documents and will continue to make productions on a rolling basis.

Plaintiffs have also begun to meet and confer with AT&T, Inc., Verizon Communications Inc.,

and DISH Network Corporation regarding Plaintiffs’ requests for production of documents to

those non-parties.

II.         Deutsche Telekom AG

            DT received service on February 27, 2024, through the Hague Convention. On March 21,

2024, the Court granted Plaintiffs and DT’s stipulated motion for an extension until April 9, 2024,

for DT to file its Motion to Dismiss. On March 27, 2024, Plaintiffs and DT entered a stipulation

of dismissal as to DT, see Dkt. No. 177, which the Court approved on March 28, 2024, see Dkt.

No. 178.

III.        Pending Submission

            The following submission remains pending with the Court: the parties’ Joint [Proposed]

Order Re Protocol for the Production of Electronically Stored Information (ESI), submitted to

the Court on October 16, 2023.




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 Dated: March 29, 2024             /s/ Brendan P. Glackin
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                                    CERTIFICATE OF SERVICE

            I, Brendan P. Glackin, an attorney, hereby certify that this Joint Status Report was

electronically filed on March 29, 2024, and will be served electronically via the Court’s ECF

Notice system upon the registered parties of record.

                                                   Respectfully submitted,

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